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                      IN THE UNITED STATES BANKRUPTCY COURT
                           FOR THE DISTRICT OF MARYLAND
                                  (Greenbelt Division)

 In re:

      TANYA L. JONES,                                         Case No. 16-19257-TJC
                                                              (Chapter 7)
                           Debtor.


 JOHN P. FITZGERALD, III,
 ACTING UNITED STATES TRUSTEE
 for REGION 4,                                                 Adversary Proc. No.:
 6305 Ivy Lane, Suite 600
 Greenbelt, MD 20770,

                                       Plaintiff,

 v.

 TANYA L. JONES,
 14405 WOODMORE OAKS COURT
 Bowie, MD 20721,

                                     Defendant.


                    COMPLAINT TO REVOKE DISCHARGE OF DEBTOR

          Plaintiff John P. Fitzgerald, III, the Acting United States Trustee for Region 4 (“United

States Trustee”), by and through undersigned counsel, hereby files this Complaint pursuant to 11

U.S.C. § 727(d)(1) seeking to revoke the discharge of the Defendant. In support of this

Complaint, the United States Trustee states as follows:

                                       Jurisdiction and Venue

          1.     The Court has jurisdiction over this adversary proceeding pursuant to 28 U.S.C.

§ 1334(b), 28 U.S.C. § 157(a) and 11 U.S.C. § 727. This is a core proceeding under 28 U.S.C. §



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157(b)(2)(J).

       2.       Venue in this Court is proper pursuant to 28 U.S.C. § 1409(a).

       3.       The United States Trustee has standing to file this complaint under 11 U.S.C.

§§ 307, 727(d), and Fed. R. Bankr. P. 4004. Pursuant to Local Bankr. Rule 7012-1(b), the

United States Trustee hereby consents to the entry of final orders or judgments by the Bankruptcy

Court in this adversary proceeding.

       4.       The order of discharge was entered in this case on January 25, 2017.

       5.       The last date to seek revocation of discharge is January 24, 2018. This

Complaint is timely filed.

                                            The Parties

       6.       The Plaintiff is the United States Trustee for Region 4.

       7.       The Defendant is the Chapter 7 Debtor herein. At the time she filed her petition,

she stated that she lived in Bowie, MD.

                          Factual Background Common to All Counts

       8.       The allegations contained in paragraphs 1 - 7 are incorporated herein by reference.

       9.       Tanya L. Jones (the “Defendant” or “Debtor”) initiated this case by filing, through

counsel, a voluntary petition for relief under the reorganization provisions available to individuals

with regular income through Chapter 13 of the United States Bankruptcy Code on July 11, 2016

(“Petition Date”).

       10.      On October 3, 2016, the Court denied confirmation of the Debtor’s proposed

Chapter 13 Plan without leave to amend.

       11.      By separate order on October 3, 2016, the Court converted this case to a liquidation


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under Chapter 7.

        12.    Michael G. Wolff was appointed to serve as Chapter 7 Trustee (“Chapter 7

Trustee”).

        13.    The Defendant filed her Summary of Schedules and Schedules A through J on July

27, 2016 (ECF 11).

        14.    The Defendant signed and attached a Declaration to the Schedules, in which she

stated under penalty of perjury that the information on her schedules was true and correct (ECF 11

at p. 21).

        15.    The Defendant filed her Statement of Financial Affairs (“SOFA”) on July 27, 2016

(ECF 12).

        16.    On the SOFA, the Defendant declared under penalty of perjury that the information

on the SOFA was true and correct (ECF 12 at p. 7).

        17.    The Chapter 7 Trustee conducted and concluded the first meeting of creditors on

November 1, 2016 (“341 Meeting”).

        18.    At the 341 Meeting, the Defendant testified that she had listed all of her assets on

her Schedules and SOFA.

        19.    At the 341 Meeting, the Defendant testified that she had listed all of her liabilities

on her Schedules and SOFA.

        20.    At the 341 Meeting, the Defendant testified that her Schedules and SOFA were

true, accurate and complete and that she had nothing to add to or change in these pleadings.

        21.    The Defendant never amended her Schedules and SOFA.

        22.    On January 25, 2017, the Defendant received her discharge (ECF 47).

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       23.     In response to Question no. 3 on Schedule A/B, which asks debtors, “Do you own,

lease, or have legal or equitable interest in any vehicles, whether they are registered or not?”,

including “Cars, vans, trucks, tractors, sport utility vehicles, motorcycles”, the Defendant

answered, “No.” (ECF 11 at p. 4).

       24.     In response to Question no. 6 on Schedule A/B, which asks debtors to list all

“Household goods and furnishings,” the Defendant identified “furnishing” with a value of $3,000

(ECF 11 at p. 4).

       25.     In response to Question no. 7 on Schedule A/B, which asks debtors to list all

“Electronics”, including “Televisions and radios, audio, video, stereo and digital equipment;

computers, printers, scanners; music collections; electronic devices including cell phones,

cameras, media players, games,” the Defendant answered, “No.” (ECF 11 at p. 4).

       26.     In response to Question no. 8 on Schedule A/B, which asks debtors to list all

“Collectibles”, including “Antiques and figurines, paintings, prints or other artwork; books,

pictures, or other art objects; stamp, coin, or baseball card collections; other collections,

memorabilia, collectibles,” the Defendant answered, “No.” (ECF 11 at p. 5).

       27.     In response to Question no. 9 on Schedule A/B, which asks debtors to list all

“Equipment for sports and hobbies”, including “Sports, photographic, exercise and other hobby

equipment; bicycles, pool tables, golf clubs, skis; canoes and kayaks; carpentry tools; musical

instruments”, the Defendant answered, “No.” (ECF 11 at p. 5).

       28.     In response to Question no. 12 on Schedule A/B, which asks debtors to list all

“Jewelry”, including “Everyday jewelry, costume jewelry, engagement rings, wedding rings,

heirloom jewelry, watches, gems, gold, silver”, the Defendant answered, “No.” (ECF 11 at p. 5).

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        29.     In response to Question no. 17 on Schedule A/B, which asks debtors to list all

“Deposits of money”, including “Checking, savings, or other financial accounts; certificates of

deposit; shares in credit unions, brokerage houses, and other similar institutions”, the Defendant

answered, “Navy FCU.” (ECF 11 at p. 5-6).

        30.     In response to Question no. 23 on the SOFA, which asks debtors, “Do you hold or

control any property that someone else owns? Include any property you borrowed from, are

storing for, or hold in trust for someone”, the Defendant answered, “No.” (ECF 12 at p. 5.)

        31.      In response to Question no. 27 on the SOFA, which asks debtors, “Within 4 years

before you filed for bankruptcy, did you own a business or have any of the following connections

to any business? –A sole proprietor or self-employed in a trade, profession, or other activity, either

full-time or part-time [;] A member of a limited liability company (LLC) or limited liability

partnership (LLP) [;] A partner in a partnership[;] An officer, director, or managing executive of a

corporation[;] An owner of at least 5% of the voting or equity securities of a corporation”, the

Defendant answered, “Yes. Previously had interest transportati[sic] business; closed.”

        32.     Before the Debtor received her discharge in this case, the Chapter 7 Trustee

obtained approval from the Court to employ Patricia Frostbutter (“Ms. Frostbutter”) as the real

estate agent for the estate.

        33.     The Chapter 7 Trustee had entered into an agreement with the secured lender to

sell real property owned by the Defendant in Bowie that served as her residence (the “Home”).

        34.     The Defendant testified at the 341 Meeting that she owned the Home jointly with

her mother, who had not filed for bankruptcy relief.

        35.     Although there was no equity in the Home, the secured lender had agreed to carve

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out a percentage of any sales proceeds (the “Carve-Out”) to return to the Chapter 7 Trustee for

distribution to creditors.

        36.      The agreement between the secured lender and the Chapter 7 Trustee contained

various deadlines that the Chapter 7 Trustee had to meet in order to receive the Carve-Out.

        37.      At first the Debtor stated that she would surrender the Home and cooperate in the

sales process.

        38.      However, the Defendant did not cooperate.

        39.      Ultimately, the Chapter 7 Trustee filed a Motion to Compel the Debtor’s

Cooperation.

        40.      The Motion, which was filed post-discharge, was granted.

        41.      After the Motion was granted, Ms. Frostbutter inspected the Home.

        42.      She found that the Home was exquisitely furnished and had musical instruments,

audio-video equipment, and other items of personal property that are appropriate for a house that

had been purchased for one million dollars.

        43.      The Home contained, among other items, a piano, a movie-theater with a ceiling

projector, wide-screen and multiple lounge-style chairs, a piano, and large chandeliers.

        44.      The Home also had a four-car garage that contained multiple motor vehicles,

including, but not limited to, a BMW and a Range Rover.

        45.      Ms. Frostbutter took pictures of numerous items in the Home.

        46.      There continued to be litigation in connection with the Home. In May 2017, the

Chapter 7 Trustee initiated an adversary proceeding through his “Complaint to Sell Property of the

Estate Free and Clear of Interest of Non-Debtor Co-Owner (the “363 Complaint”) so that he could

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sell the House free and clear of the Debtor’s mother’s interest.

       47.     The day before a pre-trial conference was held on the 363 Complaint, the Debtor’s

mother, LaVern Jenkins, (“Mrs. Jenkins”), filed her Voluntary Petition for Relief under Chapter

13, which petition was docketed as Case No. 17-18023-WIL.

       48.     Like the Defendant, Mrs. Jenkins identified a minimal amount of personal property

on her Schedules and SOFA.

       49.     However, on her Schedule A/B, Mrs. Jenkins identified a checking account that

she owned with the Defendant. This checking account was never disclosed on the Defendant’s

schedules and SOFA.

       50.     On or about August 17, 2017, Ms. Frostbutter reported that an agent for a

prospective buyer had toured the Home and reported that items that had appeared in the marketing

pictures were not present at the Home. Specifically, it was reported that fans and chandeliers had

been removed and that there was exposed wiring where those fixtures had originally been placed.

       51.     Several days later, Ms. Frostbutter again contacted the Chapter 7 Trustee and

advised that there appeared to be additional items missing from the Home.

       52.     Ms. Frostbutter also sent pictures of the interior of the Home to the Chapter 7

Trustee.

       53.     In September 2017, the Chapter 7 Trustee advised the United States Trustee of the

existence and subsequent removal of this personal property.

       54.     Thus, the United States Trustee learned of the existence of the property and its

removal after the Defendant had received her discharge.

       55.     At no time during the bankruptcy case did the Debtor amend her schedules or

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SOFA or otherwise disclose the significant personal property that was located at the Home or the

bank account.

                                              COUNT I

                   Revocation of Discharge (11 U.S.C. § 727(d)(1); 727(a)(2))

       56.      The allegations contained in paragraphs 1 - 55 are realleged and incorporated

herein by reference.

       57.      Pursuant to 11 U.S.C. § 727(d)(1), “[o]n request of the trustee, a creditor, or the

United States Trustee, and after notice and a hearing, the Court shall revoke a discharge granted

under subsection (a) of this section if such discharge was obtained through the fraud of the Debtor

and the requesting party did not know of such fraud until the granting of the discharge.”

       58.      For purposes of Section 727(d)(1), “proof of conduct by a debtor in violation of

Section 727(a)(2) . . . is sufficient to establish that the discharge was obtained by fraud.” In re

Faruque, Case No. 07-13375-SSM, 2009 WL 2211210 at *4 (Bankr. E.D. Va., July 20, 2009).

       59.      Section 727(a)(2) of the Bankruptcy Code provides that a debtor is not entitled to a

discharge if he, “with the intent to hinder, delay, or defraud a creditor or an officer of the estate

charged with custody of property under this title, has transferred, removed, destroyed, mutilated,

or concealed . . .(A) property of the debtor, within one year before the date of the filing of the

petition; or (B) property of the estate, after the date of the filing of the petition.” 11 U.S.C. §

727(a)(2).

       60.      On the Petition Date, the Defendant owned or controlled for others various items

of personal property (including fixtures) that were located in the Home and other personal

property (including a checking account).

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       61.     The Defendant concealed the personal property by failing to disclose it in her

Schedules and SOFA and by denying its existence during the 341 Meeting.

       62.     These items of personal property were property of the Defendant prior to the

Petition Date and property of the bankruptcy estate after the Petition Date.

       63.     The Defendant concealed these assets with the intent to hinder, delay and defraud

creditors and the officers of her bankruptcy estate, including the Chapter 7 Trustee.

                                            COUNT II

                   Revocation of Discharge (11 U.S.C. § 727(d)(1); 727(a)(4))

       64.     The allegations contained in paragraphs 1 - 63 are realleged and incorporated

herein by reference.

       65.     Pursuant to 11 U.S.C. § 727(d)(1), “[o]n request of the trustee, a creditor, or the

United States Trustee, and after notice and a hearing, the Court shall revoke a discharge granted

under subsection (a) of this section if such discharge was obtained through the fraud of the Debtor

and the requesting party did not know of such fraud until the granting of the discharge.”

       66.     For purposes of Section 727(d)(1), “proof of conduct by a debtor in violation of

Section 727 … (a)(4) is sufficient to establish that the discharge was obtained by fraud.” In re

Faruque, Case No. 07-13375-SSM, 2009 WL 2211210 at *4 (Bankr. E.D. Va., July 20, 2009).

       67.     Section 727(a)(4) of the Bankruptcy Code, in turn, provides that a debtor is not

entitled to a discharge if he “knowingly and fraudulently, in connection with the case . . . made a

false oath or account.”

       68.     The Defendant made false oaths and accounts in connection with the case by

failing to disclose personal property that she owned, including personal property located at the

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Home, and a bank account, and by affirmatively testifying at the 341 Meeting that the Schedules

and SOFA were true and correct.

       69.     The Defendant made the false oaths knowingly and fraudulently and for the

purpose of hiding assets from the Chapter 7 Trustee and her creditors.

       70.     These misrepresentations are material and the Chapter 7 Trustee relied upon them

in administering the bankruptcy estate.

       71.     The Defendant’s material misrepresentations constitute fraud sufficient to revoke

the Defendant’s discharge.

       72.     The Defendant has obtained a discharge through fraud, which was not discovered

by the United States Trustee until after the grant of discharge, and, thus, the Defendant’s discharge

should be revoked under 11 U.S.C. § 727(d)(1).

       WHEREFORE, for the foregoing reasons, the United States Trustee respectfully requests

that the Court enter its Order revoking the Defendant’s discharge under 11 U.S.C. § 727 and

awarding such other and further relief as may be necessary and appropriate.

Dated: January 8, 2018                                JOHN P. FITZGERALD, III
                                                      Acting United States Trustee for Region 4
                                                      By Counsel:



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